                             UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NORTHEASTERN DIVISION


DAVID CHERRY, Personal Representative )
of the ESTATE OF PAMELA CHERRY, )
DECEASED,                             )
                                      )
             Plaintiff,               )
                                      )           CASE NO. 2:12-cv-00043
        vs.                           )
                                      )
HANNA C. ILIA, M.D.,                  )
                                      )
             Defendant.               )

                                          ORDER

        Comes now the Court, having reviewed Plaintiff’s Notice of Completion of Settlement

and Unopposed Motion to Dismiss with Prejudice, and being duly and sufficiently advised in the

premises now GRANTS said motion.

        IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that this action is

DISMISSED WITH PREJUDICE, each party to bear their own costs.



          5/1/15
DATED: ___________________                        ____________________________________
                                                  JUDGE, United States District Court
distribution to:

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